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                      IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF KANSAS

KYLE ALEXANDER, et al.,                      )
                                             )
              Plaintiffs,                    )
                                             )
v.                                           ) Case No. 14-CV-2159-KHV-JPO
                                             )
BF LABS INC.,                                )
                                             )
              Defendant.                     )

            DEFENDANT BF LABS INC.’S ANSWERS AND OBJECTIONS TO
                   PLAINTIFFS’ FIRST INTERROGATORIES

       Defendant BF Labs Inc., by and through its counsel of record, submits the following

answers and objections to Plaintiffs’ First Interrogatories pursuant to Rule 33 of the Federal

Rules of Civil Procedure.

                                    INTERROGATORIES

       BF Labs answers and objects to Plaintiffs’ First Interrogatories as follows:

       1.     State the name, address, employer, and job title of each person answering these

Interrogatories and which interrogatory answers they are responsible for answering.

       ANSWER:

       David McClain, Account Manager at BF Labs Inc. with a business address of 10770 El

Monte St #101, Leawood, Kansas 66211, with the assistance of counsel, was responsible for

answering interrogatories 1-23. Bruce Bourne, a non-employee consultant, and Sonny Vleisides,

Chief Innovation Officer at BF Labs Inc., assisted Mr. McClain in answering interrogatories No.

4 and 6.



       2.     Identify all products offered by Defendant for purchase by consumers from the

date of Defendant’s inception to the date of these interrogatories, including the product name,
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version, and the date the product was first released/available for purchase.

       ANSWER:

Generation                                  Product      Sales Start Date

FPGA                                        Single       11/2011

                                            MiniRig      1/2012

ASIC 65 NM                                  4.5 GH       6/23/2012


                                            30 GH        6/23/2012

                                            60 GH        6/23/2012

                                            1,500 GH 6/23/2012

                                            5 GH         4/04/2013

                                            25 GH        4/04/2013

                                            50 GH        4/04/2013

                                            500 GH       6/12/2013

                                            10 GH        12/13/2013

                                            230 GH       12/2013
ASIC 28 NM
                                            600 GH       8/17/2013

                                            300 GH       9/04/2013

                                            1 TH         3/11/2014

                                            700 GH       8/19/2014
Mining by the Gigahash/Cloud Mining
                                                         9/11/2013
Nimbus Mining
                                                         1/24/2014




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       3.      For each product identified in No. 2, above, identify the manufacturer(s) and

component manufacturer(s), including the name and version of the product or component if not

already identified in No. 2, above.

       ANSWER:

       The following companies have provided parts for BF Labs’ product lines identified in

No. 2 above:

       For the FPGA: Ironwood Electronics and Wurth Electronics.

       For the 65 NM: Chronicle Technology, Altera, T-Global Technology, TE Connectivity,

ST Microelectronics, Coilcraft Corp., Osram Opto Semiconductors Inc., Sullins Connector

Solutions, JST America Inc., Great Wall, Cooler Master, and EVGA.

       For the 28 NM: Chronicle Technology, CoolIT Systems, T-Global Technology, TE

Connectivity, Wurth Electronics, ST Microelectronics, Coilcraft Corp., Osram Opto

Semiconductors Inc., Sullins Connector Solutions, JST America Inc., Great Wall, Cooler Master,

and EVGA.

       For all generations (FPGA, 65 NM, 28 NM): Spel Semiconductor, Celsia Technology,

Enner Technology, Pengchu, Renesas Electronics, Sunyon Industry, A&E Metal, Taiyo Yuden,

Toshiba, Murata Electronics, United Chemi-Con, TDK Corporation, Panasonic – ECG, Atmel

Corp., Microchip Technology, Infineon Technologies, Rohm Semicondoctor, Molex Electronic

Solutions, Lite-On Semiconductor Corp., IDT, Fox Electronics, Future Technology Devices

International Ltd. (FTDI), Analog Devices Inc., Wurth Electronics, Kemet, ECS International

Inc., CUI Inc., Diodes Inc., Analong Devices Inc., Avago Technologies Inc., Fox Electronics,

Bourns Inc., Abracon Corp., NDK, AVX Corp., Kyocera Corp., FCI Electronics, Texas




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Instruments, Alpha & Omega Semiconductor Inc., Caddock Electronics Inc., NXP

Semiconductors, Stanley Electric Co., and Vishay Dale.



       4.      For each product identified in No. 2, above, identify the date the product design

was first started, the date the product design was finished, the date production of the product

began, and the date production of the product ended.

       ANSWER:

       The process of designing the FPGA generation of products began months before the

company was incorporated in August 2011, and design modifications continued until near the

end of production. Regarding production, the first shippable unit was manufactured in February

2012 and the last unit in November 2012.

       There was a degree of carryover from the FPGA product generation to the 65nm Bitforce

SC line of products, therefore in essence the start of design of the 65nm line can be traced to the

FPGA generation. However, in April 2012 BF Labs began efforts with Chronicle Technology to

formalize and document design of the 65nm ASIC chip, which is an integral component of this

generation. The Bitforce product line design was continually modified throughout the assembly

period. Regarding production, the first shippable unit was produced in April 2013, assembly of

units in quantity ended in January 2014, and only in isolated cases have any units been

assembled since then.

       Similar to the 65nm product line, the 28nm Monarch product line design has its origins in

the FPGA generation, and there is also a high degree of overlap with the 65nm ASIC chip design

itself. Discussion of the 28nm chip design with Chronicle Technology began soon after the

feasibility of the 65nm chip was determined (in 2012) and BF Labs continues to make




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modifications to the 28nm product line at the present time. The first manufacture of 28nm

products commenced during Q2 2014, but the initial units did not meet specifications and could

not be shipped to customers. They were deployed for use in cloud-based mining starting in July

2014. The first shippable units were produced and shipped during August 2014; production and

shipments are ongoing.



          5.     For each product identified in No. 2, above, identify the number of units

manufactured by month and year, the number of units ordered by consumers by month and year,

and the number of units shipped to consumers by month and year.

          ANSWER:

          BF Labs has not tracked by product the number of units it has manufactured or shipped to

consumers by month and year. For the FPGA generation order dates and order status, see Exhibit

A. For the 65 and 28 NM generations, see Exhibit B which will show order dates and order

status.



          6.     For each product identified in No. 2, above, identify the number of units

manufactured by month and year that were not ordered by consumers.

          ANSWER:

          BF Labs is unable to provide a specific answer as manufacturing records were not

maintained on the basis requested. Given the use of the preorder sales model, the vast majority

of FPGA and 65 NM products were ordered by customers prior to manufacture and the daily

focus was on producing at maximum output and shipping as quickly as possible to fulfill the

demand from pre-existing orders. Only at the end of the preorder queue would the company have




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manufactured units without a pre-existing order, and those were manufactured with the intent to

sell to customers from stock. BF Labs is currently still building 28 NM units to satisfy the

preorder queue. BF Labs is not able to identify units that were not ordered by consumers, nor did

the company track such units by month and year.



          7.     For each product identified in No. 2, above, identify the date(s) Defendant first

requested, ordered, or initiated the manufacture of such products and the number of units

Defendant requested, ordered, or initiated the manufacture of on each such date.

          ANSWER:

          BF Labs does not maintain or possess manufacturing records that would allow an

exhaustive answer to this interrogatory, but incorporates its answer to interrogatory No. 4, above.



          8.     For each product identified in No. 2, above, identify the estimated shipping date

(and each revised shipping date) Defendant represented publically, the date each representation

was made, and Defendant’s factual basis for making such representation to the public on each

such date.

          ANSWER:

          BF Labs objects to Plaintiffs’ request to the extent it seeks information that BF Labs

represented publically such information is equally accessible to Plaintiffs. Regarding BF Labs’

factual basis for making representations, BF Labs considered the production and assembly

processes,     information   it   received   from       suppliers   and   component   manufacturers,

communications with crucial vendors, contracts it had for ASIC chip delivery, among other

things.




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       9.      For each estimated shipping date (and each revised estimated shipping date)

identified in No. 8, above, identify the percentage of units of each product identified in No. 2,

above, that were actually shipped within the estimated shipping date.        For purposes of this

interrogatory, percentage of units is defined as the number of units shipped within the applicable

estimated shipping date divided by the number of orders pending for the same type of unit times

100%. Further, estimated shipping date is defined as either (a) the estimated shipping date if a

fixed date was provided (e.g., “within 2 months”); or (b) the earliest estimated shipping date if a

range of dates was provided (e.g., “within 2 months or later” or “within 2 to 6 months”).

       ANSWER:

       Defendant objects to this request on the grounds that it is overbroad, unduly burdensome,

and not reasonably calculated to lead to the discovery of admissible evidence. Furthermore,

Defendant does not have the records to be able to provide this information to Plaintiffs.



       10.     Identify all current and former employees of Defendant or non-employees who

were responsible for or involved in the development and content of Defendant’s online

representations and web-based marketing (including social media such as YouTube, Twitter,

Facebook, LinkedIn, Reddit, bitcoin online forums, etc.).

       ANSWER:

       Current employees responsible for or involved in the development and content of

Defendant’s online representations and web-based marketing include Josh Zerlan, Jeff Ownby,

and Sonny Vleisides. Anthony Fast is a former employee who was involved in the development

and content of Defendant’s online representations and web-based marketing. Bruce Bourne and




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Jurie Pieterse are non-employees who have been responsible for or involved in the development

and content of Defendant’s online representations and web-based marketing.



       11.    Identify all current and former employees of Defendant or non-employees who

were responsible for managing, supervising, training, or providing customer service on behalf of

Defendant.

       ANSWER:

       Jody Drake, Dave McClain, and Jeff Ownby are current employees who were responsible

for managing, supervising, training, or providing customer service on behalf of Defendant. Jurie

Pieterse is a non-employee who is, and Paul Scholes is a former employee who was responsible

for managing, supervising, training, or providing customer service on behalf of Defendant. In

addition, all other employees, all former employees and non-employees have been responsible

for providing customer service on behalf of BF Labs by virtue of being associated with BF Labs,

which serves customers.



       12.    For all policies or contracts of insurance which you were or may be insured in any

manner, for the damages, claims, or actions that have arisen out of the occurrence(s) mentioned

in Plaintiffs’ Complaint, state the type of coverage, the name and address of the company or

companies issuing such insurance, the policy number, the limits of coverage for each type of

coverage contained in the policy, and whether any reservation of rights or controversy or

coverage dispute exists between you and the insurance company.

       ANSWER:




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       This information has previously been provided to Plaintiffs. See BFLABS-KA 00000001-

31. Coverage has been denied in FTC v. BF Labs Inc., et al., No. 14-815-BCW (W.D. Mo.). The

letter denying coverage will be produced.



       13.    Identify all owners of Defendant by name, address, and percentage of ownership.

       ANSWER:

       Sonny Vleisides, 12406 Overbrook, Leawood, KS 66209 (44%); Nasser Ghoseiri, c/o

Law Offices of Behrouz Shafie Associates, 1575 Westwood Blvd., Ste 200, Los Angeles, CA

90024 (40%); Jeffrey S. Ownby, 130 N Park Rd., La Grange, IL 60525 (10%); Alexa Fuller,

Olathe, KS (2.5%); Chris Vleisides, Kansas City, MO (2.5%); and A.D. Douma, Rotterdam,

Netherlands (1%).



       14.    Identify all bitcoin mining accounts or operations operated, owned, utilized, or

otherwise controlled by Defendant or Defendant’s agents or employees by stating the name and

number of the account or location of the operation, the specific date(s) bitcoins were mined

under that account or at that location, and the product name, version, and serial number of the

each piece of mining equipment used to mine bitcoins for each account or operation.

       ANSWER:

       BF Labs objects to this Interrogatory to the extent it seeks information relating to the

bitcoin mining accounts owned by BF Labs’ agents or employees that are not operated, owned,

utilized, or otherwise controlled by BF Labs. BF Labs will not answer this interrogatory to the

extent it seeks such information. Subject to the foregoing objection, Eclipse Mining Consortium

became part of BF Labs on October 26, 2012. This mining consortium is operated on multiple




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servers in multiple locations. It provides pool mining services for thousands of pool members,

who own their own equipment and the bitcoins mined; BF Labs objects to providing records on

the mining results of machines not owned by the company, and does not maintain records of the

serial number or type of customer equipment connected to the pool.

       BF Labs set up a mining operation at its headquarters in February 2014 to fund the

bitcoin prize pool for an internet game show named “The Bitcoin Game Show.” Initially, no

more than 2 TH of 65 NM mining equipment was used; these were units left over after BF Labs’

65 NM pre-order queue was fulfilled. BF Labs ended mining with no more than 3.5 TH of 65

NM equipment. During the entire operation of this pool, approximately 14 bitcoins were mined.

       In January 2014, BF Labs entered into a cloud-based mining partnership with a data

center hosting company through which it offered a product sold under the name Nimbus Mining.

The hosting company provides administrative software that monitors bitcoins mined to each

customer’s account; BF Labs does not receive copies of these records. To support the Nimbus

Mining offering (sold between January and June 2014), later a free service referred to as

Temporary CloudMining (provided between June and December 2014), and eventually

permanent (paid) CloudMining (from December 2014 to present), BF Labs initially provided 594

units of excess 230 GH machines to the partnership. These machines were decommissioned in

August and September 2014. Starting in July 2014, BF Labs began deploying substandard, non-

shippable 28 NM Monarchs to the same hosting company to be used to replace the 65 NM

equipment. Between July and August 2014 approximately 611 TH of Monarch equipment was

delivered. For Nimbus Mining and Cloud Mining, approximately 700 bitcoins were mined and

should ultimately be received by BF Labs.




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       15.     Identify all bitcoin addresses operated, owned, utilized, or otherwise controlled by

Defendant or Defendant’s agents or employees.

       ANSWER:

       BF Labs objects to this Interrogatory to the extent it seeks information relating to the

bitcoin addresses owned by BF Labs’ agents or employees that are not operated, owned, utilized,

or otherwise controlled by BF Labs. BF Labs will not answer this interrogatory to the extent it

seeks such information. Subject to the foregoing objection,

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       14uocwfztA3GQpT1RT6jST9gw1B6pNPEWM

       15os4NVs4BqCJg1SaijQJC7T8aLQM7YeY8

       1LaWJTs6xbDAvrf6YFRWGnPRNY6UkP98WD

       13PVf3oUrbpEJZYoEaouKvR5rqp2x1j84k

       14c2bDM17reCLH68uubeSeQygnM2uo5zY2

       1QAHVyRzkmD4j1pU5W89htZ3c6D6E7iWDs

       1DYqanUjJ6hGaECPj2CMatbW1uBduRWaw8

       12HmUEdk3fqz9W4SEf1xjxPqvkGDqAqHyc

       13vx46HBN8FViQAy4uFkdvUX5RjAFAuXsY

       1EGknUZnQCLTBHH7v2f7PP8vkY42zHbY8y

       38PEdxeoJUf12RTzg7Ay6Pu7kV7pqxHA1q

       1MPYyQiJ16JpfQ1ab2cVEfncNGo5GLU77a

       13cWs3fZDcB4x6myLGByZBVhWiMFYX5QD3

       1FLhdDdX5b3A8Jt7uTeLmRnRugR8Dd5syT

       1ERVh27gZfPSDaaagL9R3W12xpMJ38ZBA7




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       15v3sXGh6PDpQXcCmVYRf7H2ryRL5EVsu6

       18M9o2mXNjNR96yKe7eyY6pfP6Nx4Nso3d

       1NKygkkRpjDmboWEXXEsAFDEKheZ2pBVxo

       1GhYFmoDgtyJsYFFWhZ2YmeVj2GHsTPTUC

       1BM8dkK77yvwGk7ucqoNn8eDTBFy8jXjLQ.



       16.     Identify all designers and engineers involved in the development of Defendant’s

products identified in No. 2, above.

       ANSWER:

       Employees: Nasser Ghoseiri, Marc Goodpasture, Sonny Vleisides, and Josh Zerlan.

       Contractors: Jason Aspinall

       Vendors: Chronicle Technology, Interconnect Systems, Nanium, Bayside Design, i2A

Technologies, Sierra Circuits, and Spel Semiconductor.



       17.     Identify all current and former employees of Defendant or non-employees who

have operated in the capacity of a manager or supervisor for Defendant.

       ANSWER:


Current

Sonny Vleisides – VP of Product Development

Nasser Ghoseiri – Chief Technology Officer

Jeff Ownby – VP of Marketing and Ecommerce

Jody Drake – General Manager

Marc Goodpasture – Production Manager



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Josh Zerlan – Operations Manager

David McClain – Account Manager

Bruce Bourne – Non-Employee Consultant

Jurie Pieterse – Non-Employee Consultant

Former

Anthony Fast - Marketing Manager

Brian Pollmiller – Shipping Supervisor

Debra Grantham – Warehouse Supervisor

Brett Cederholm – Warehouse Supervisor

Alicia Suenaga – Customer Service Supervisor

Zach Weaver – Customer Service Supervisor

Ana Janeth Zamarron – Assembly Supervisor

Paul Scholes – Assistant Account Supervisor


        18.     Identify and itemize all consideration (cash, bitcoins, etc.) received by Defendant

from customers who pre-ordered a product or service from Defendant.

        ANSWER:

        For FPGA generation sales, see exhibit C. For the 28 and 65 NM generations, see exhibit

D.



        19.     Identify all customers who requested a refund from Defendant, denoting which

customers received refunds, the date of such refunds, and the type and amount of such refunds

(cash, bitcoins, etc.).

        ANSWER:


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       See Exhibit E, which may be supplemented as it may not be completely comprehensive.



       20.     Identify all IPs and account names that Defendant’s employees or agents have

utilized to post information on the internet relating or referring to bitcoin mining by the dates the

posts were made, the contents, and the location of those posts.

       ANSWER:

       BF Labs objects to this interrogatory to the extent it seeks “the dates the posts were made,

the contents, and the location of those posts” as this is unduly burdensome and overbroad.

Subject to the foregoing objections, the following account names have been used to post

information on BF Labs’ forums: BFL AM Dave, BFL_Emily, BFL_Jody, BFL_Jonathon,

BFL_Josh, BFL_Nasser, BFL Office, BFL_Sabina, and BFL_Updates.



       21.     Identify all customers who, after receiving their order from Defendant, notified

Defendant the equipment received was defective, not working properly, or not working

according to specifications.

       ANSWER:

       See Exhibit F.



       22.     How many bitcoins has Defendant mined (either by itself or by someone else on

Defendant’s behalf) for Defendant’s own benefit since Defendant was formed?

       ANSWER:

       BF Labs has mined or received as its share of cloud-based mining approximately 8124.58

bitcoins.




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       23.     How many bitcoins has Defendant mined (either by itself or by someone else on

Defendant’s behalf) for Defendant’s own benefit from the testing of mining equipment pre-

ordered by customers before shipping such equipment to customers?

       ANSWER:

       BF Labs does not maintain records that would allow it to answer the question posed by

this interrogatory. BF Labs is otherwise unable to determine precisely the number of bitcoins

mined through the testing of mining equipment. BF Labs further states in an effort to address

this interrogatory that there are various activities that result in “by-product” mining, such as

product research and development, quality assurance testing, returned item testing and diagnosis,

and substandard unit testing and repair/retest. The bitcoin resulting from this “by-product”

mining has historically been directed to a single wallet address. While the number of bitcoins

generated by testing cannot be determined, it is substantially less than the 8124.58 total bitcoins

mined and identified in the answer to Interrogatory No. 22 above (a figure which includes

bitcoins that were mined as part of the Nimbus Mining partnership, as well as bitcoins that BF

Labs has yet to receive from cloud mining).




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                       Respectfully submitted,



                       /s/ Michael S. Foster
                       James M. Humphrey                      KS Fed. #70664
                       Michael S. Foster                          KS #24011
                       Polsinelli PC
                       900 W. 48th Place, Suite 900
                       Kansas City, Missouri 64112-1895
                       Telephone: (816) 753-1000
                       Facsimile: (816) 753-1536
                       jhumphrey@polsinelli.com
                       mfoster@polsinelli.com

                       Attorneys for Defendant BF Labs Inc.




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                                         )ss.
COUNTY     oFY la+r<-                t
        Before me appeared David McClain, being duly swom upon his or her oath, states that he
or she is a representative of Defendant BF Labs [nc., that he or she duly authorized to answer the
foregoing interrogatories on behalf of Defendant BF Labs Inc., and that the answers given are
true and correct to the best ofhis or her information.




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                                  CERTIFICATE OF SERVICE

       I hereby certify that on February 20th, 2015, a true and correct copy of the foregoing
pleading was served via electronic mail on the following:

       Noah K. Wood, Esq.
       Ari N. Rodopoulos, Esq.
       Wood Law Firm, LLC
       1100 Main Street, Suite 1800
       Kansas City, MO 64105-5171

       Attorneys for Plaintiffs




                                           /s/ Michael S. Foster
                                          Attorney for Defendant BF Labs Inc.




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                          IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF KANSAS

KYLE ALEXANDER, et al.,                   )
                                          )
               Plaintiffs,                )
                                          )
v.                                        ) Case No. 14-CV-2159-KHV-JPO
                                          )
BF LABS INC.,                             )
                                          )
               Defendant.                 )

                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on the 20th day of February, 2015, Defendant BF

Labs Inc.’s Answers and Objections to Plaintiff’s First Interrogatories were served on the

following by electronic mail:

Noah K. Wood, Esq. (noah@woodlaw.com)
Ari N. Rodopoulos, Esq. (ari@woodlaw.com)
Wood Law Firm, LLC
1100 Main Street, Suite 1800
Kansas City, MO 64105-5171

Attorneys for Plaintiff

                                   Respectfully submitted,



                                   /s/ Michael S. Foster
                                   James M. Humphrey                        KS Fed. #70664
                                   Michael S. Foster                            KS #24011
                                   Polsinelli PC
                                   900 W. 48th Place, Suite 900
                                   Kansas City, Missouri 64112-1895
                                   Telephone: (816) 753-1000
                                   Facsimile: (816) 753-1536
                                   jhumphrey@polsinelli.com
                                   mfoster@polsinelli.com

                                   Attorneys for Defendant BF Labs Inc.
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                                Document          04/17/15
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                                                               Page




                               CERTIFICATE OF SERVICE

       I hereby certify that on February 20, 2015, I electronically filed the foregoing with the
Clerk of the Court using the CM/ECF system which sent notification of such filing to the
following:

Noah K. Wood, Esq.
Ari N. Rodopoulos, Esq.
Wood Law Firm, LLC
1100 Main Street, Suite 1800
Kansas City, MO 64105-5171

Attorneys for Plaintiff


                                    /s/ Michael S. Foster
                                    Attorney for Defendant




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